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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

J.G.G. et al.,                             )       Case No. 1:25-cv-766 (JEB)
                 Plaintiff,                )
                 v.                        )
DONALD J. TRUMP, in his official           )
capacity as President of the United        )
States, et al.,.                           )
                 Defendant.                )

                              BRIEF OF AMICUS CURIAE
                                  MEGHAN KELLY




                                                   Meghan Kelly, Esquire
                                                   34012 Shawnee Drive
                                                   Dagsboro, DE 19939
                                                   meghankellyesq@yahoo.com
                                                   US Supreme Court No 283696
                                                   DC License retired 2019, No. 981781



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                                          APPENDIX

Exhibits 1 through 8 include a series of emails where I seek to persuade others to protect the
judiciary from illegal attacks under the color of authority or other arguments
unsuccessfully…………………………………………………………………………………7

Exhibit 8 B various documents proving people judges and petitioners are the target as part of the
foundation for an overthrow, not limited to the fact China already has peopleless courts…..1-2

Exhibit 9     119th Congress 1 ST Session H. RES. 229, dated March 18, 2025, Articles of
Impeachment against this Court’s Chief Judge James E. Boasberg by Mr. Gill of Texas (for
himself, Mr. Crane, Mr. Collins, Mr. Carter, Mr. Moore and Mr. Clyde……………………22

Exhibit 10 Threatening letter to special prosecutor Jack Smith from Texas Attorney General
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Exhibit 11 November 8, 2024 letter from Congress member Jordan and Loudermilk to Jack
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Exhibit 12 Congress people Loudermilk and Jordan threatening Jack Smith to affect outcome,
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I.      Trump hypocritically and in bad faith causes Constitutional confrontations between the
two bullying branches against one the judiciary, while blaming the bullied judiciary branch for
the crisis he manufactures, while he disrespects the Courts and evades judgment in bad faith by
manipulating the courts by citing distorted interpretations of case law that commands the Court
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acting in a manner as to be deemed an internal enemy of his own country and people ignorantly,
indifferently or intentional, doesn’t matter. What matters is the courts must restrain and guide
misguided members of the other two branches when they give into temptation to exceed
constitutional authority…………………………………………………………………28-29

L       Defense Counsel are officers of the Court bound by candor, and yet their 1 st Amendment
right to petition fairly must be preserved not destroyed by government threats, even by
clients/bosses that are not their mere law firm or boss, but President and Attorney General Bondi
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       I, Meghan Kelly, Esq. 1 respectfully submit this amicus brief in support of neither party,

to present arguments neither party asserted to prevent the dissolution of these United States.

Although my arguments are unfavorable to Defendants. Neither party provided opposition to an

amicus before this court (“ct”) or to the US Supreme Court (“USSC”) either.

I.     Argument
A      Interest in the case
       I am in a unique position and have special knowledge to present issues that apply to this

case to aid the court and the parties to preserve the rule of law. Other parties or their counsel are

attacked for restraining President Trump (“Trump”) within the purview of the Constitutional

limits. US Attorney Generals (“AGs”) are sitting beholden to Trump to secure seats as not yet

nominated and confirmed. Those who safeguard the government not merely the President face

reprisal in violation of Equal protections and due process rights to petition on behalf of all

government, not merely one man should they contest Trump. State AGs are overwhelmed by

Trump suits.2 Lawyers are retaliated against in private firms and extorted for free pro bono for

past conflicts with President’s agenda, like Skadden. Even the USSC and federal judges are

threatened to affect the outcome of the cases, including this case in violation of the right to

petition fairly in accord with due process, and separation of powers.

       I am in a unique position and have special knowledge that there is a plan to eliminate the

judiciary. In 2018, I ran for office per the attached news article because non-lawyers were

lawyering messing up the chain of title and costing the public and private people equitable and




1
  The undersigned certifies that no party’s counsel authored this brief in whole or in part, and that
no party, party’s counsel, or any other person other than amicus contributed money that was
intended to fund preparing or submitting this brief.
2
  See Exhibits 1-8, also see, https://www.congress.gov/bill/119th-congress/house-
resolution/241/text, See, https://static.project2025.org/2025_MandateForLeadership_FULL.pdf
with regards to eliminating AGs not beholden to Trump
                                                  1
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monetary harm unrestrained. I learned there was a plan to eliminate judges to eliminate the rule

of law that founded, sustains and maintains these United States as a democratic-republic with the

passage of the bill of rights in Dec 15, 1791 granting the people the right to petition coupled with

due process fairness before impartial forums.

       The agenda eliminates the Constitution as law to protect freedoms in favor of lawless

unjust bartered for business, allowing only those with power, connections unjust wealth or

control over resources and access to them to rule unrestrained from human sacrifice and slavery.

Instead, they are rewarded by sustaining problems, to sustain profit streams, power and positions

with no check, no government and no law to stop them under the lie of freedom or consent.

Please see the attached exhibits for evidence that the petitioners who grant the Court power to

say what the rule is and the Courts are the target. (Exhibit 8 B).

       The judiciary is in danger, and I believe 1. restraining Article I and II members within the

purview of Constitutional limits to protect the fair legal power to petition and 2. removing

Presidential or even congressional immunity misused for an unconstitutional purpose, would

safeguard the courts and prevent a dissolution. (Article, hereinafter referred to “Art”)

       My unique situation, no matter how degrading places me in the position where I may

present these issues the court, the parties and everyone else is distracted or otherwise prevented

from considering. Other attorneys are threatened, retaliated against or otherwise prevented from

bringing up the issues I present by the threat of harm by Art I and II officials or their agents with

the intent to influence the outcome of cases or to chill the right to petition to prevent cases

restraining Art I and II power or agendas.3 Trump drafted Executive orders to economically




3
 https://www.cbsnews.com/news/law-firm-skadden-cuts-100-million-pro-bono-deal-trump-
avoid-executive-order/
                                                  2
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harm law firms4 as punishment to compel loyalty and extort pro bono hours to bring petitions

beholden to his viewpoint. Trump chills the right to petition to restrain his agenda rendering

Trump unchecked. Those who bring up the issues such as the issues I bring before to aid the

court, are targeted for harm by additional Art I and II abuse of powers to force outcomes in cases

or eliminating potential cases by government threats meant to chill the fundamental right to

petition to safeguard life and liberty. US Am I, V.

         Should the court find my arguments unpersuasive, fine, at least it considers the

importance and may otherwise maintain the power under Marbury “to say what the rule of law

is,” from being vitiated by the misconduct of members of the other two branches who are in need

of guidance and direction not destruction. USSC held in Marbury v Madison, 5 US 137 (1803).

                  “The very essence of civil liberty certainly consists in the right of every
         individual to claim the protection of the laws, whenever he receives an injury. One of
         the first duties of government is to afford that protection. In Great Britain the king
         himself is sued in the respectful form of a petition, and he never fails to comply with
         the judgment of his court. In the 3d vol. of his Commentaries, p. 23. Blackstone states
         two cases in which a remedy is afforded by mere operation of law. In all other cases," he
         says, "it is a general and indisputable rule, that where there is a legal right, there is also a
         legal remedy by suit, or action at law, whenever that right is invaded."

         Here, all people risk losing the protections of the law, and the individuals in this case risk

great, imminent and egregious harm if the issues I present to aid the court and the parties are not

presented on amicus or otherwise by the party or this court in this fast-moving case where

petitioners do not have fair time to consider or present the unique additional issues. They are

working on dire imminent more pressing matters. Trump is not above a King, and must respect

the judicial process.




4
    See, EO 14250, Ex Or. No. 14246 and Ex Or 14244.

                                                    3
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       I submitted documents with this Ct on 4/17/25 found at DI 96, and afterwords, I

incorporate all herein in full, including but not limited to the Amicus petitioner Meghan Kelly’s

Motion for an exception to pro hac vice rules, given my circumstances. DE placed my license to

practice law on inactive disabled for suing President Trump (“Trump”) under the RFRA to

alleviate a substantial burden I alleged Trump caused by his establishment of government

religion by government church partnerships through certain executive orders, and other conduct. 5

DE found my private religious beliefs in Jesus Christ, not only unworthy of protection but a

disability. 6 During disciplinary litigation the executive and legislative branches attacked federal

judges, specifically members of the USSC, Justice Alito, his wife, Justice Thomas, his wife, and

other members of the federal court concerning issues in my cases to influence the outcomes of

my claims unfairly at the appellate stage, thus allowing Art I and II members to continue to

unfairly interfere with the right to a fair forum not threatened forum where judges risk

impeachment or more insidious harm for disagreeing with Art I and II desired outcomes. 7




5
  https://www.supremecourt.gov/DocketPDF/21/21-
5522/188298/20210823145007844_Pet%20of%20Writ%20of%20Cert%20part%201%20of%20
2.pdf and https://www.supremecourt.gov/DocketPDF/21/21-
5522/188298/20210823145008172_Pet%20of%20Writ%20of%20Cert%20part%202%20of%20
2.pdf Petition from the US Supreme court Docket Number 21-5522 Kelly v Trump.
6
  Gentile v. State Bar of Nevada, 501 U.S. 1030, 1054 (1991) (“At the very least, our cases
recognize that disciplinary rules governing the legal profession cannot punish activity protected
by the 1st Am, and that 1st Am protection survives even when the attorney violates a disciplinary
rule he swore to obey when admitted to the practice of law”
7
   See, https://www.supremecourt.gov/DocketPDF/23/23-
7372/330502/20241028234748903_0%20Pet%20for%20rehearing%20dated%20Oct%2028%20
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       USSC did not consider limiting Art I or II official powers to preserve its own Art III

powers under separation of powers arguments to the purview of the Constitutional limits so as

not to violate the people and public’s Constitutional legal power to petition fairly in federal court

without Art I and II threats against federal judges or attorneys to affect the outcome in cases

unfairly. US Amend I, V, Art I, II, III. USSC denied my petitions and the cases are closed,

possibly because the issues did not arise in the district court the trial forum, or because Art I

members were not parties before the court as they are here. Trump is a party before this Court,

making this case possibly the only vehicle to restrain both Art I and II members from usurping

and eliminating Art III power altogether to aid in an insurrection by the government under the

hypocritical aim of defending a fabricated one at the border.

B.     Presidential Immunity should be limited as not to apply to Contempt proceedings or with
regards to whether Trump violated Due Process arising in this forum by threatening Honorable
Chief Judge Boesberg, the appellate courts with and attorneys with the innuendo of threats

       I seek to present arguments to the Court to show past case law, even by this esteemed

Court regarding immunity must be overturned, limited or distinguished in order to apply the rule

of law to Trump to preserve the court, the people and the public’s legal check upon a President,

and Art III judicial power from being usurped by President Trump and Congress, at least with

regards to this courts criminal contempt proceeding, even if the court rejects consideration of

limiting Presidential immunity beyond this exceptional case of first impression.

       Congressional or Presidential attacks against parties, AGs, federal judges and their family

members to influence the outcome of cases based on viewpoint of speech regarding whether

Trump is above the law have arisen recently unrestrained by the courts depriving anyone




%20evade%20punishment%20and%20gain%20reward%20by%20congressional%20regulations
%20and%20Court%20rules.pdf
                                                  5
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contesting Executive action of due process and removing the judiciary’s balance and check upon

executive action. I seek to somehow protect the courts function from being vitiated, the state and

US AG's check and the petitioners’ herein and people’s power to balance and check the

government by pet coupled with due process (“DP”) without vitiation of rights/claims based on

viewpoint of petition, suing, or prosecuting the President (“Pres”), and new DP or EP issues. I

believe there is a scheme to eliminate the rule of law to allow for an overthrow by vitiating the

power of the courts, and the petitioners including the AGs from using the rule of law to be

replaced by a far worse oppressive system of control which will eliminate every freedom and the

governments after 2050, with no rule of law to restrain those with power, connections, or wealth

to control a no longer free but slave people. I preserve the issues.

       Government attacks against perceived dissidents of President Trump to affect the

outcome of live cases in violation of US Amend I, V, Art I, III, will continue to eliminate the

court’s function to allow for the intentional planned dissolution of these United States if the

Court does not permit petitioners fair access to the courts in accord with DP and EP and other

arguments that affect the outcome of this case.

       Trump seeks to eliminate birth right citizenship, 8 seeks to sell citizen rights by literal

citizenship cards,9 and on 4/28/25 Trump passed EO 14288 10 appearing to create a foundation for

martial law wherein he also enslaves lawyers by compelled involuntary servitude to represent

local, county and state police as federal agents who under section 5 may be empowered to

threaten local, and state officials perceived as dissidents. AGs, including Defense counsel here,

face displacement under the new subscription system where there will be no rule of law,


8
  https://www.pbs.org/newshour/politics/supreme-court-sets-date-in-may-to-hear-arguments-on-
trumps-birthright-citizenship-order
9
  https://www.cnn.com/2025/02/25/politics/us-gold-card-foreigners-trump
10


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attorneys or courts should someone not seek to restrain misguided government officials not

limited to Trump from giving into temptation to allow for a real as opposed to fabricated

overthrow. Defendants have deported Americans and children, 11 and will likely seek to imprison

perceived dissidents in prisons as he previously stated he would like to send Americans to

CECOT too.12 I do not take words lightly.

           President Trump’s immunity deprives the public and private people of the 1 st Amendment

right to petition to safeguard other fundamental rights in violation of due process and equal

protection and other first amendment and fundamental rights based on viewpoint of speech by

petitioning to restrain a President’s conduct within the purview of the Const and statutory limits,

where the President is unfairly deemed above the law by immunity and the people a President

harms, including me as a party of one, are rendered below the law’s protection. US Am I, V, IV.

           The Constitutionality of Presidential immunity by recent case law and by imprudent

finding by the USSC in US v Trump, 939 conflicts and vitiates other Constitutional checks such

as the government's check upon all the government via the US AGs. The court should address

immunity at least as applied to contempt or due process issues with equitable declaratory and

injunctive findings to prevent a schemed overthrow, and to prevent continued irreparable injury

to petitioners, especially petitioners herein in terms of loss of First Amendment rights to petition

before the y are kidnapped, human trafficked, placed in prisons to be potentially cut up and sold

for organs, sex slaves, products for money or killed for bartered for favors with El Salvadoran

president or the businesses who own the concentration camp prisons. We do not know what




11
     https://www.bbc.com/news/articles/c4g8yj2n33yo
12
     https://www.npr.org/2025/04/16/nx-s1-5366178/trump-deport-jail-u-s-citizens-homegrowns-el-salvador

                                                       7
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goes on in dungeons. Defendants tell us nothing. We do know China kills detainees and cuts up

their organs for sale. So, it may happen here. Defendants say nothing. 13

       The Ct must in the interest of justice consider the arguments against immunity, at least as

applied to this case, to allow for criminal contempt and to safeguard the life and liberties of

Plaintiffs, and all of humanity.

       “Congress, the Executive, and the Judiciary all have a duty to support and defend the

Constitution.” Salazar v. Buono, 559 U.S. 700 “There is no ‘de minimis’ defense to a First

Amendment violation.” Doe v. Indian River Sch. Dist., 653 F.3d 256, 259. “The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Mullin v. Sussex County, 861 F. Supp. 2d 411, 415.

       Plaintiffs and other petitioners will continue to suffer government threats, evasion and

obstructions to their 1st Am rights to petition to safeguard life and liberties if a brave court does

not uphold the Constitutional limits from government overreach in this case.

       Plaintiffs and the people are deprived of the 1st Am access to the courts and any

opportunity to be heard at all in accord with the 5 th Am. when they are rounded up, kidnapped

and in threat of being deported and imprisoned unjustly where mistakes are rewarded for profit.

       The judge made doctrine created in Nixon was abused by Trump and will be continually

abused if not restrained. When the Court errs, it cannot be corrected unless someone petitions on

amicus or otherwise. When all other Petitioners are threatened and prevented from presenting

this issue because they are in fear of reprisal for disagreeing with the court, I am uniquely

positioned to aid the court to correct errors or at least distinguish them as applied.




13
  https://www.nbcnews.com/news/world/china-forcefully-harvests-organs-detainees-tribunal-
concludes-n1018646
                                                   8
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C.     Trump and Defendants violation of USSC Order and this Court’s 3/16/2025 and
4/16/2025 are so egregious that immunity should be removed as applied. President Trump is in
need of correction and guidance to restrain him within the purview of Constitutional limits to
prevent usurping Art III authority.

       Defendants violated a USSC order, 14 and this DC District Court’s March 15, 2025 and

April 16, 2025 orders in bad faith by detaining and shipping off people to foreign prisons without

any opportunity to defend themselves for apparent bartered for favors in exchange for prison

profit likened to the Third Circuit case where two PA District Court Judges wrongly imprisoned

black children for prison profit. The PA Federal judges were criminally and civilly prosecuted

for sending innocent little black children to prison where they were tied to the prison profit as

motive. 15 If an equal branch may face criminal prosecution, so, too should an equal co-equal-

branches’ members President Trump and Defendants, at least with regards to criminal contempt

which is an issue of first impression.

       Is Trump above the same check that members of the coequal branch the courts are. No, I

should think not in contravention of the 5 th Amendment Equal Protections component as applied

to this exceptional case.

       Even more egregious Defendants appeared to retaliate against Judge Boesberg to evade

review or correction under the April 16, 2025 order by immediately seeking warrants dated April



14
   See USSC Order on Application to Vacate Injunction Entered by the United States District
Court for the District of Maryland, Noem v. Abrego Garcia, No. 24A949 (U.S. Apr. 10, 2025)
(ordering unanimously that the Government must “‘facilitate’ plaintiff Abrego Garcia’s release
from custody in El Salvador and ensure that his case is handled as it would have been had he not
been improperly sent to El Salvador”).
https://www.supremecourt.gov/opinions/24pdf/24a931_2c83.pdf
15
   See, US v Ciavarella, 716 F.3d 705, No. 11-3277, and In Re Ciavarella, Jr 108 A.3d 983,
https://www.washingtonpost.com/politics/2025/04/18/trump-presidency-news-tariffs-
deportations/



                                                  9
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16, 2025 to kidnap people and ship them off to prison camps for bartered for foreign and private

prison profit favor, violating the First Amendment right to petition in accord with due process

under the 5th Amendment, any opportunity to be heard fairly, without threats, before deprivation

of life and liberty by government threat and force may take place, by kidnapping people and

throwing them on airplanes to be deported to foreign prisons for bartered for foreign or business

favor in exchange for prison profit likened to the PA case.

       The Courts do not guide the misguided defendants or Trump by granting them immunity

from suit by recent judicial doctrines stemming from Nixon and more recently in USSC No 939.

By experience we learned Trump abuses and tests and misuses such judicial grant. Thus, the

court should and must remove or limit immunity to allow criminal contempt proceedings not to

destroy Trump but to restrain him from lawlessness by deeming himself to be the law

supplanting Art III authority as he did in EO 14215: Ensuring Accountability for All Agencies

issued on or about February 18, 2025. 16

       EO 14215 states only the “President and the AG shall provide authoritative

interpretations of the law for the executive branch.” Art II does not expressly state that the

president or any other person in the executive branch has the power to interpret laws. The article

states that the president is required to “take care that the laws be faithfully executed.”

       Jurisdiction to interpret laws and determine constitutionality belongs to the judicial

branch under Art III. The framers of the Constitution designed the separation of duties to prevent

any single branch of government from becoming too powerful, not to grant the President




16
  https://www.whitehouse.gov/presidential-actions/2025/02/ensuring-accountability-for-all-
agencies/


                                                  10
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unfettered discretion unrestrained, unchecked and unbalance by the people and public’s check of

the petition by the rule of law in Art III courts.

        Immunity should not be extended to civil or criminal contempt proceedings in this case of

first impression which is distinguished from past application of immunity. The Court must limit

Congress and the President within the purview of the Constitutional limits so as to preserve Art

III authority and the rights of the parties.

        There’s been news that Trump may declare martial law on or after April 20, 2025 to

evade Article III.

        USSC coupled with the brave petitioners single handedly removed the threat of martial

law from being declared, 4/20/25, by an emergency appeal to USSC Friday 4/18/25, granted

Saturday before Easter Sunday 4/19/25, 90 days after Trump’s declaration of an emergency.

Imagine the thousands of people at nationwide protests Easter Saturday 4/19/25 and their utter

horror if the USSC did not make the Friday night/Saturday morning 1 AM order stopping a

planeload of kidnapped people off to foreign dungeons with no proof for cause before an

impartial judge or opportunity to contest any such human trafficking. Imagine the outrage and

great sadness it would cause nationwide by protesters. There is evidence Trump wanted to distort

passion and peace that would be even more heart felt and stronger with some folks probably

being grumpy and angry instead of proactive in reversing or preventing threats as ammunition to

declare martial law for the insidious purpose of evading judgment and vitiating Art III authority

over Defendants unfairly by deception.

        The USSC upheld the rule of law to restrain even the President and uphold justice for all

not merely those partial to Trump’s agenda. I applaud them for doing what is right.

D.     The Court should use declaratory or equitable relief by stating the outlines of the
Constitutional limits of Official Presidential and congressional authority to preserve the Art III

                                                     11
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function and Constitutional rights of the people from unfair infringements, not fines or
imprisonments as to invite escalating attacks by Art I and II branches where Art I and II
members will continue to misbehave if not restrained by an opinion outlining constitutional
limits of official authority to protect judges and Art III authority

       On 4/16/25, this Court ordered a finding of probable cause for contempt. Trump appealed

it that day, and the US Court of appeals stayed contempt proceedings.

       Should contempt proceedings reconvene, it is more prudent to correct President Trump

by limiting his power to preserve Art III authority and the people and public’s right to petition

without a President or Congress people’s threats against attorneys or judges with the intent to

commandeer outcomes unfairly than to fine or imprison him, or allow immunity to permit him to

be above the law in this case of first impression. 17 US Am I and V. Trump and congress are

likely to become defensive and increase attacks against the judiciary and potential petitioners by

threat of fines or imprisonments instead of using the case to guide the misguided Art I and II

members to uphold the fair right to petition before an impartial not threatened forum and Art III

function.

       The Ct may be tempted to use executive authority through the Marshalls against the

President too given he appears to seek to usurp the court’s authority by fabricating invasions or

threats to gain more bartered for favors by foreign prison profit or otherwise to serve himself at

the expense of the country. He passed two additional executive orders on January 20, 2025, EO

14159: Protecting the American People Against Invasion 18 and EO 14161, Protecting the United

States from Foreign Terrorists and Other National Security and Public Safety Threats 19. Yet, I




17
   Clinton v. Jones, 520 U.S. 681 (1997) (“Doctrine of separation of powers does not require
federal courts to stay all private actions against President of the United States until he leaves
office. U.S.C.A. Const. Art. 3, § 1 et seq.”)
18
   https://www.govinfo.gov/content/pkg/FR-2025-01-29/pdf/2025-02006.pdf
19
   https://www.govinfo.gov/content/pkg/FR-2025-01-30/pdf/2025-02009.pdf
                                                  12
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argue the best way to resolve difficult issues is civilly through the petition, at least with regards

to this case of first impression where a President acts in contempt and in apparent violation of

due process by attacking the judge.

E      Presidential Immunity violates Equal Protections and eliminates the government’s and
the people’s Constitutionally vested legal check the petition in accord with Due Process

        This Ct is not likely to overturn the USSC or its own precedent. Nevertheless, I preserve

it for the record for USSC appeal. I believe the USSC is in danger, and the way to protect it is by

applying the rule of law to restrain even the President and Congress to safeguard the lives and

liberty of government and private peoples who are not below the law by his attempt to eliminate

the law, and Art III authority as the Ct did on Easter weekend, 4/19/2025. Garcia v Noem, 604

U. S. ____ (2025)

        The right to petition is the only individual liberty which protects all other rights from

infringement. When claimants are deprived of that right by President Trump’s threats,

Congressional interference, immunity or other disparate government restraints especially on

viewpoint of speech contained in petitions, injustice occurs and the rule of law is degraded. The

rule of law is what maintains and sustains these United States. The rule of law is degraded by

the Cts’ partiality towards the President, Congress itself or the government as a whole to the

extent it sacrifices the lives and liberties of the people, including the First Am right to petition,

Due Process and Equal Protections.

        When the Cts get it wrong, the right to petition may be used again to correct, to preserve,

not destroy the Cts. Injustice is guaranteed when petitions are denied by the whims of the Ct

even the USSC by unjustly finding President is above the law as the law. 20 There really is a



 In recent cases USSC reduced the power of state and US Attorney Generals from prosecuting
20

gov officials under 18 USC Sections 201 and 666. In Kelly v Trump I cited these very two
                                                  13
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scheme to overthrow the government. USSC recently errantly removed the authority of the AGs

to protect the entire government. By removing those with power to enforce the rule of law

petitioners, including their advocates US AGs and special counsel’s authority access to the Cts

the Ct removes its own authority and the rule of law that protects the people and the government.

       On 7/1/24, USSC held inter alias the Pres. is “absolutely immune” from criminal

prosecution for conduct in his official capacity in violation of Equal Protections by affording one

man, the President, unchecked deference.21 USSC ruled other conduct is presumed immune.22



statutes as a tool AG’s may use to prevent the overthrow. June 26, 2024, the U.S. Supreme Court
held 6-3 in Snyder v. United States that a federal statute, 18 U.S.C. § 666(a)(1)(B), does not
criminalize “gratuities” to state and local officials
21
   USSC also erred in Nixon v. Fitzgerald, 457 U.S. 731, 755-56 (1982)(“In view of special
nature of president of the United States's constitutional office and functions, president has
absolute immunity from damages liability for acts within “outer perimeter” of his official
responsibility.”). The Court was wrong at Id. At 56-57 (“rule of absolute immunity for the
President will not leave the Nation without sufficient protection against misconduct on the part
of the Chief Executive.38 There remains the constitutional remedy of impeachment.39 In
addition, there are formal and informal checks on Presidential action that do not apply with equal
force to other executive officials. The President is subjected to constant scrutiny by the press.
Vigilant oversight by Congress also may serve to deter Presidential abuses of office, as well as to
make credible the threat of impeachment.40 Other incentives to avoid misconduct may include a
desire to earn reelection, the need to maintain prestige as an element of Presidential influence,
and a President's traditional concern for his historical stature.” USSC was further wrong at Id. at
757. (“The existence of alternative remedies and deterrents establishes that absolute immunity
will not place the President “above the law.”41 For the President, as for judges and prosecutors,
absolute immunity merely precludes a particular private remedy for alleged misconduct in
order to advance compelling public ends.”). DC Ct is wrong in Blassingame v. Trump, 87
F.4th 1 (D.C. Cir. 2023)(“President's actions do not fall beyond outer perimeter of official
responsibility merely because they are unlawful or taken for forbidden purpose; rather,
President's official immunity insulates all of his official actions from civil damages liability,
regardless of their legality or his motives.”). DC Ct is also wrong in Carroll v. Trump, 88 F.4th
418, 422 (2d Cir. 2023)(“Presidential immunity is a defense that stems from “the President's
unique office, rooted in the constitutional tradition of the separation of powers and supported by
our history,” and entitles the President to “absolute ... immunity from damages liability for acts
within the outer perimeter of his official responsibilities.”) Immunity is unconstitutional
removing Const checks on an unbalanced branch.
22
   But see, Trump v. Vance, 591 U.S. 786, (2020) (“In contrast to a king, who is born to power
and can “do no wrong,” the President of the United States is “of the people” and subject to the
                                                14
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USSC further held Trump’s powers stem from the Constitution or an act from Congress, while

failing to note the President is limited by both the Constitution and acts of Congress, especially

criminal laws drafted to protect fundamental rights of the people the 1 st Amendment right to

petition and fair opportunity to be heard before vitiation of Constitutional rights and other

liberties, not limited to a fair proceeding, freedom from being kidnapped and imprisoned in

concentration campos without any opportunity to hear charges, or prepare and present defense,

and the right to vote to discern who is the President as a matter of law, not as a matter of mob

lawless reign or threat of violence.

       USSC granted what is not the Ct’s to give the removal of Constitutional checks that

balance a President’s authority within the purview of Constitutional limits. President is

unconstitutionally given a sword to execute the law and a shield to defeat Constitutional

challenges brought by petitioners or the Ct and the Ct’s check upon the President for violation of

criminal laws that appear to violate the peoples and the Plaintiffs fundamental rights and others

safeguards, the AG’s check to safeguard victims of a President’s criminal or even civil or official

violations of Constitutional liberties, the AG’s check to prosecute without bias against the

citizens and favoritism towards the government. Specifically, the President and Congress vitiate

the right to petition to defend life and liberty without foreclosure in a fair forum not threatened

forum, with persecution incited by a Pres. Trump, the defendants or congress in this most



law.”) Marbury v Madison, 5 US 137 (1803) (“The very essence of civil liberty certainly consists
in the right of every individual to claim the protection of the laws, whenever he receives an
injury. One of the first duties of government is to afford that protection. In Great Britain the king
himself is sued in the respectful form of a petition, and he never fails to comply with the
judgment of his court. In the 3d vol. of his Commentaries, p. 23. Blackstone states two cases in
which a remedy is afforded by mere operation of law. In all other cases," he says, "it is a general
and indisputable rule, that where there is a legal right, there is also a legal remedy by suit, or
action at law, whenever that right is invaded.")

                                                 15
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heinous act of violence against humanity against Plaintiffs, the courts, the people and their

country here in this case.

       The shield which limits the President’s authority is meant to safeguard the people, not to

make one person above the law in violation of Equal protection and clear precedent. The USSC

erred in Nixon and in Trump Number 939. USSC has made Trump not only above a king but

above God, by teaching the world he is his own judge on alleged official conduct unrestrained by

the law to protect other people’s Constitutional legal fundamental rights or authority, including

other individuals besides the President the AG are charged to protect or defend and the

government officials including judges.23

       It is for the court to consider whether the President violates DP, AEA, or treason, high

crimes and misdemeanors, not the one alleged to commit crimes not limited to contempt, nor is it

for an unfair, bought and bartered for, unfair biased horse and pony political forum congress to



23
   In re Murchison, 349 U.S. 133, (1955) (“No man can be a judge in his own case, and no man
is permitted to try cases where he has an interest in the
outcome.”);https://en.wikipedia.org/wiki/Nemo_iudex_in_causa_sua “Nemo judex in causa sua
(also written as nemo [est] judex in sua causa, in propria causa, in re sua or in parte sua) is a
Latin legal authority that translates as "no one is judge in their own case". Originating from
Roman law, it was crystallized into a phrase by Edward Coke in the 17th century and is now
widely regarded as a fundamental tenet of natural justice and constitutionalism. Vermeule 2012,
p. 386. (Other Cit omitted Wickepedia) “It states that no one can judge a case in which they have
an interest. In some jurisdictions, the principle is strictly enforced to avoid any appearance of
bias, even when there is none: as Lord Chief Justice Hewart laid down in Rex v. Sussex Justices,
"Justice must not only be done, but must also be seen to be done"” Id. R v Sussex Justices, ex
parte McCarthy, [1924] 1 KB 256, [1923] All ER 233, Datar, Arvind (18 April 2020). "The
origins of "Justice must be seen to be done"". Bar and Bench - Indian Legal news. Retrieved 11
September 2023.
See, Isaiah 14 to see how the Ct has made a Pres like the devil to be his own Judge and God,
reflecting the image of lawlessness leading to hell if unrestrained by the just rule of law by the
courts or written in the hearts of men in the form of love per Jeremiah 31. See, Sirach 8:14
(“Contend not at law with a judge, for he will settle it according to his whim.” causing lawless
lusts and great injustice). Allowing Pres to be his own judge grants partiality to self not the
impartial application of the constitution to the rule of law to protect the lives and liberty of all,
not merely of one person with absolute discretion and a license to commit crime.
                                                 16
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say what the rule of law is as applied to Trump or its congressional members, causing the people,

and the public to be continuously deprived of the right to petition fairly in accord with DP or

other Constitutional rights24 I disagree with Trump v. Norma Anderson, where USSC Ct held it

doesn’t matter if states found Trump committed treason and high crimes, they must keep him on

the ballots and Trump is above the impartial rule of law and the provisions under Section 3 of the

14th Am. USSC errantly made Trump free to entice congressmen to prevent impeachment for

crimes and treasons through encouraging him to rule by temptations, lusts, by helping agendas in

a horse and pony forum congress. Trump remains unrestrained by the just rule of law by the false

assertion of the USSC that immunity is the law, meaning like the devil in the legal book the

Bible at Isaiah chapter 14, the President is lawless unrestrained by anyone in his official conduct

unlimited by other preempting Constitutional provisions unless the courts choose to apply the

Constitution as law to restrain him. 25



24
   Williams v. Pennsylvania, 579 U.S. 1, (2016) (“Due process guarantees an absence of actual
bias on the part of a judge.” U.S.C.A. Const.Amend. 14.); Id at 8–9, (2016) Citing Murchison,
349 U.S., at 136–137, (“This objective risk of bias is reflected in the due process maxim that “no
man can *9 be a judge in his own case and no man is permitted to try cases where he has an
interest **1906 in the outcome.” Id., at 136, 75 S.Ct. 623.); Caperton v. A.T. Massey Coal Co.,
556 U.S. 868, (2009) (“In deciding whether probability of actual bias on part of judge is too high
to be constitutionally tolerable, court's inquiry is objective one, that asks not whether judge is
actually, subjectively biased, but whether average judge in judge's position is likely to be neutral,
or whether there is unconstitutional potential for bias.”) Id. (“There is serious risk of actual bias,
based on objective and reasonable perceptions, when person with personal stake in particular
case had significant and disproportionate influence in placing judge on case by raising funds or
by directing judge's election campaign when case was pending or imminent.”)
25
   Federalist 10 “No man is allowed to be a judge in his own cause, because his interest would
certainly bias his judgment, and, not improbably, corrupt his integrity. With equal, nay with
greater reason, a body of men are unfit to be both judges and parties at the same time; yet what
are many of the most important acts of legislation, but so many judicial determinations, not
indeed concerning the rights of single persons, but concerning the rights of large bodies of
citizens? And what are the different classes of legislators but advocates and parties to the causes
which they determine? Is a law proposed concerning private debts? It is a question to which the
creditors are parties on one side and the debtors on the other. Justice ought to hold the balance
between them.” When courts balance Constitutional authority and restraints it must uphold the
                                                  17
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       While the court has the power of saying what the rule of law is, petitioners have the

Constitutional legal authority under US Am I, V or IX in an Art III case or Controversy to argue

and persuade the Court as to what the Constitution as rule of law is, especially when the Court is

mistaken, and where its decision was based on protecting its personal interest from attacks.

These rights should not be infringed upon by the government through Art I and II threats to

maintain them pressuring USSC’s errant decisions or by government attacks against petitioners,

witnesses, judges or their family to affect the outcome in cases.

       When the Court gets it wrong, it may be corrected through the petition. In order to uphold

the fair administration of justice the court must allow petitions even against the court to correct

errors and mistakes and to preserve the rule of law and equal Protections for all not some,

including Trump who is rendered above the law by immunity. Wrongs cannot be righted when

petitions are obstructed and fair opportunity to be heard are denied. Injustice is the law when the

USSC says immunity or denial of 1st Amendment rights including the petition is now the law.

The rule of law is degraded when the rt to pet fairly are denied. US Amend I, V.

F.      Article I and II members’ official power should be restrained to prevent threats towards
judges, petitioner’s, witnesses or their families to influence the outcome of cases unfairly in
violation of the people and public’s 1st Amendment right to petition fairly in accord with 5th
Amendment due process and equal protections not before threatened federal courts, and also in
violation of separation of usurping Article III authority

       In this case, Trump, and executive officers such as Vice President Vance and

Congressmen or others exceeded their official Art I and II powers by violating the rights of



express purpose this Country was founded to protect life and liberty not to sacrifice it for the
mark of the beast, lawless lusts leading to hell including avoidance of costs, material gain,
convenience, comforts, positions, power and other vain desires if not restrained or repented of.
See, Federalist letter 78, Also See, Federalist 80 “No man ought certainly to be a judge in his
own cause, or in any cause in respect to which he has the least interest or bias. This principle has
no inconsiderable weight in designating the federal courts as the proper tribunals for the
determination of controversies between different States and their citizens.”)
                                                 18
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petitioners to petition fairly in federal court, in this case, in accord with due process (“DP”)

where Art I and II members threatened the trial Court Judge, the Honorable Chief Judge James

Boesberg, (“Boesberg”) by using official government authority to malign or otherwise chill the

judiciaries’ powers, threatening to eliminate the specific court and its judge, Chief Judge

Boesberg by defunding it, drafting articles of impeachment, or drafting proposed laws with the

intent to usurp Art III power to force outcomes in current lawsuits, in this case, and to prevent

future cases, removing judicial authority unconstitutionally with implied threats of retaliation

against appellate and the USSC members should they not conform to the rulings Art I and II

members command infringing the plaintiffs right to a fair and impartial forum to petition.

       Accordingly the USSC’s order may be null and void in violation of Due Process in terms

of venue, and it is inapplicable to the contempt proceeding. 26 Even the USSC’s forum was not a

fair but threatened forum in contravention of the 5 th Amendment right to Due Process in this case

by violations of Art I and Art II members including President Trump’s express or implied threats

towards trial court Judge Boesberg and the innuendo of threats towards the appellate court and

the USSC members.27




26
   See Swirlate IP LLC v. Quantela, Inc., 1:22-cv-00235, (D. Del.). Chief Judge Honorable
Connelly permitted to bring contempt proceedings, even by non-party after case closed per
Federal Appellate Court, which may be precedent should specific Article I and II members not a
party extra judicially threaten the parties, the counsel or judges or their families with intent to
affect the outcome of cases. See, In re Nimitz Technologies LLC, Appeal No. 23-103 (Fed. Cir.).
Ordered. The case was appealed together with related cases. See, In re Nimitz Technologies LLC,
Appeal No. 23-103 (Fed. Cir.); 2022 WL 17494845 (Not reported)
27
   See, Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011) (“This Court's precedents
confirm that the Petition Clause protects the right of individuals to appeal to courts and other
forums established by the government for resolution of legal disputes. ‘[T]he right of access to
courts for redress of wrongs is an aspect of the First Amendment right to petition the
government."’)

                                                  19
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       Allowing this trial Court to entertain this issue of first impression to limit the scope of the

President’s power to the purview of the Constitutional limits to safeguard the right of public and

private peoples to freely exercise their legal power to petition fairly in accord with 5 th

Amendment due process without threats and retaliation against AGs or law firms like Paul Weiss

by executive order and Skadden or federal judges is imperative to protect the function of the

courts and the rights of the people to due process before vitiation of their rights, even a fair

opportunity to be heard in an impartial forum in this present case. Due Process applies here too.

       I seek to aid the court in removing the unfairness in this court, the appellate court and

especially the USSC under the unique situation where a US President and Congressmen threaten

Judges and lawyers or attorneys in cases, as they did in this case, with the intent to command the

outcomes or retaliate against judges and petitioners to control other courts outcomes in the future

cases, by amicus even if limited to the contempt proceeding or venue issue.

       Sinclair v. United States, 279 U.S. 263, 295 (1929), held, “It may be conceded that

Congress is without authority to compel disclosure for the purpose of aiding the prosecution of

pending suits.” The Court should extend this rational to prevent Congress and President Trump

from continuing to use their official power under Art I and II impermissibly to usurp Art III

authority and eliminate the people’s rights to petition fairly by threatening parties, courts or their

counsel including in contempt proceedings.

       Congress’s express and implied Art I authority must not be permitted to continuously be

misused to commandeer outcomes in cases by threatening judges, parties or their counsel or their

family with the intent of supplanting Art III power with their own judgement as to what the rule




                                                  20
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of law is.28 Congress need not be a party to restrain unconstitutional application of laws as

applied or per se. They need not be a party to restrain their other official conduct under the

speech and debate clause and other clauses.

       Congress drafted articles of impeachment against Judge Boesberg to force the outcome in

this case unfairly by the attached H. RES. 229. Exhibit 9.

       Congress Presented the attached law, H.R.1526 - 119th Congress (2025-2026): NORRA

of 2025 to eliminate fundamental rights of claimants for equitable stays including claimants in

this case in contravention of the 5th Am due process before vitiation of rights and the Courts Art

III authority to grant them fairly, while hypocritically asking for a stay on Friday, 4/18/25 by

appealing issues not ripe to evade a record below for a hearing the next business day, Monday,

4/20/25.29 This is cheating to win by unfairly depriving plaintiffs of any opportunity at all to be

heard before government vitiation of rights unfairly in contravention of Due Process.

       Speaker of the House Johnson threatened to eliminate this DC District court and

Honorable Chief Judge Boesberg (“Boesberg”) specifically by defunding it to force or otherwise

control the outcomes of this DC District Court and the appellate court case in violation of Equal

Protections component of the 5th Amendment (“EP”) and 1st Amendment viewpoint of speech of

plaintiffs by unfairly usurping Art III authority by insidious unconstitutional threats. 30

       Congress does not have an implied or express power to threaten the courts by disparately

defunding judges it disagrees with in contravention of equal protections under the 5 th Am and



28
   E.g. Article I, Section 6, Speech and Debate Clause, Article 1 Section 8, coining power, Trump
v. Mazars USA, LLP, 591 US ___ (2020), (Implied power to investigate)
29
   https://www.congress.gov/bill/119th-congress/house-bill/1161
30
   Reuters, US House Speaker Johnson says Congress can 'eliminate' district courts, By David
Morgan and Nate Raymond, March 25, 2025, https://www.reuters.com/world/us/us-house-
speaker-johnson-says-congress-can-eliminate-district-courts-2025-03-25/

                                                  21
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separation of powers to force Art III judgements. Nor does congress have the power to

adjudicate “monetary fines” for contempt and investigatory proceedings with the intent to force

outcomes in Art III cases although Congress alludes to this power through attorney Todd Garvey

in pages 10-11 of CRS Congress’s Contempt Power and the Enforcement of Congressional

Subpoenas: Law, History, Practice and Procedure, dated May 12, 2017.

        Congress through its attorney Todd Garvey even conceded this USSC may limit its

investigatory power to protect the superseding 1st and 5th Amendment rights to petition coupled

with DP in cases and controversies, at least in criminal cases, so as not to threaten and

commandeer the Courts. Id.

        Pence maligned the court, and abused his position to exert social force to chill Art III

authority by stating it had no Art III authority to restrain or place any check to balance the

President. 31

        President Donald Trump had earlier called Boasberg a “Radical Left Lunatic Judge” in a

social media post and demanded his impeachment.32 That is childish, dangerous and not okay

and by circumstantial evidence and common sense I assume Trump, Congress and others abuse

their government position to force outcomes in cases by threatening district court judges and

creating the fear of threats of an already attacked court system, federal judges, appellate judges,

including members of the USSCs.




31
  https://www.theguardian.com/us-news/2025/feb/10/jd-vance-judges-trump
32
 https://www.usnews.com/news/u-s-news-decision-points/articles/2025-03-20/trump-wages-
war-on-judge-boasberg
                                                 22
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        Congress’s powers must be limited not limitless. So, too the Presidents power is limited

not limitless. 33 I ask this court to limit Art I and II authority to prevent interference and threats

towards judges, their wives, their kids or themselves, plaintiffs, their counsel, attorney generals,

special counsel, other petitioners and witnesses by Congress’s improper use of investigatory or

impeachment powers to commandeer the court in violation of separation of Art I and Art III

powers where congress seeks to act in place of Art III judges to force rulings by threat in

violation of my 1st and 5th Am rights as applied.

        Art I and II members’ abuse of the color of official power to threaten federal judges and

Judge Boesberg and the innuendo of threats to the appellate courts in this case violate the right to

a fair and impartial forum as applied, and is worthy of consideration in contempt proceedings to

preserve the rule of law in a fair not threatened forum.

G.      Article I and II retaliation against attorney generals, private law firms, special prosecutors
and counsel chills anyone from seeking to restrain Trump within the purview of Constitutional
limits unless the Court protects petitioners, especially any appointed special prosecutors by
outlining the purview of Constitutional limits

        By allowing Trump, Defendants and congress to continue to use the color of government

authority to threaten or remove those with power to enforce the rule of law petitioners, including

petitioners, Plaintiffs, US Attorney generals’, special counsel or even special prosecutors by

threat of reprisal against perceived dissidents of Trump, the courts remove its own authority and

the rule of law. I am mostly concerned should the Court appoint a special prosecutor. 34




33
        I do not even like express power of impeachment which may not be an issue here.
Impeachments do not work. John Jay admitted so, despite supporting them previously. England
eliminated impeachments because they do not work.
34
   Morrison v. Olson, 487 U.S. 654 (1988), was a Supreme Court of the United States decision
that determined the Independent Counsel Act was constitutional
                                                   23
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       Congress members Jim Jordan and Loudermilk and Texas AG Paxton colluded to

threaten appointed AG special prosecutor Jack Smith to affect the outcome of a case against

Trump to threaten to chill his 1st Am right to petition fairly by requiring self-incrimination in

contravention of the 5th Amendment by compelled testimony and violation of attorney work

product per the attached letters, and article. It’s not ok for Art I and II members to bully attorney

generals to violate attorney generals and independent counsel’s 1st Am right to petition fairly

without gov threats, which created calls to give Jack Smith the death penalty per the attached

article. I foresee an appointed prosecutor may also face similar threats unless case law protects

petitioners and Courts. See Exhibits 10, 11 and 12.

       I ask this Court to please limit Art I and II official power to protect the 1 st Amendment

Constitutionally vested legal power to petition fairly in accord with 5 th Amendment due process

by restraining government officials or their agents from threatening a judge, attorneys, the

parties, their counsel, and even attorney generals during litigation to influence the outcome of

cases unfairly by usurping the Judiciaries’ Art III power, or retaliating against them after cases

conclude to chill the duties of appellate and other district court judges to commandeer and

control outcomes of lawsuits unfairly.

H.     The Courts and parties, including the USSC overlooked the prejudice so great in the
Texas venue as to potentially violate the Plaintiffs due process right of a fair forum

       On the same day I filed leave to file an amicus brief 4/17/25, Defendants filed Trump v.

J.G.G., Defendant Emergency Motion for a stay pending appeal or, in the alternative, a writ of

mandamus, with the DC Federal Court of Appeals No. 25-5124 (Brief).

       On page 4 Brief, Defendants aver at the March 15, 2025 hearing:

       “The government explained that plaintiffs’ claims sound in habeas and accordingly must
       be brought in the district (in Texas) in which they are confined. In response, the
       district court inquired whether plaintiffs might want to dismiss their habeas claims,

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       which they agreed to do. Tr.22:1-3”

       Plaintiffs faced exigent circumstances of great, immediate harm. I do not think they, this

District Court or the USSC had time to consider how prejudicial the Texas venue for the habeas

proceeding would be and is, as shown by the additional deportations or attempts without due

process. Texas is prejudicial because the Texas Governor declared an insurrection fabricated on

the authority of Art 1 Sect 10 Cl 3 on 1/24/24 to evade the USSC’s decision in USSC Case

Number 23A607 DEPT. OF HOMELAND SEC., ET AL. V. TEXAS. Exhibit 13. AG Paxton and

Law makers are unfairly partial towards Trump given they both threatened to prosecute former

special counsel Jack Smith for suing Trump, per the attached exhibits contained in 9-12.

       Since due process was violated at the USSC level too, by the innuendo of threats by Art I

and II members even against its members as discussed above, it may be possible to assert this

overlooked issue below at the District Court for the Court or parties’ consideration to assert

issues the USSC’ did not consider in finding in Trump v. J.G.G., No. 24A931, 2025 WL

1024097 (U.S. Apr.7, 2025).

       “For ‘core habeas petitions,” “jurisdiction lies in only one district: the district of
       confinement.” Rumsfeld v. Padilla, 542 U. S. 426, 443 (2004). The detainees are
       confined in Texas, so venue is improper in the District of Columbia.’” Id at 2

       The parties had no time to consider the prejudice of venue the DC District Court wisely

asked parties if there was any reason to contest venue in its April 8, 2025 minute order.

       The right to a fair not partial forum supersedes convenience in terms of venue when

prejudice is so great and the harm so severe. Especially when there is evidence of bad faith

intent to manufacture crises to evade the law’s application to the other two branches unfairly.

I.      Trump hypocritically and in bad faith causes Constitutional confrontations between the
two bullying branches against one the judiciary, while blaming the bullied judiciary branch for
the crisis he manufactures, while he disrespects the Courts and evades judgment in bad faith by
manipulating the courts by citing distorted interpretations of case law that commands the Court

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respect his lawless acts that must be restrained within the purview of Constitutional limits to
preserve Art III authority

       Trump’s hands are unclean. He creates a constitutional confrontation by evading the

courts and obstructing petitioners’ access to the courts by threats and retaliation. Trump appeals

so quickly, it deprives the parties of briefing out decisions, leaving the USSC a skeletal record to

review on the issues it opines on unfairly by Defendants intentional burden.

       Trump disrespects the Courts and evades judgment in bad faith by manipulating the

courts while citing case law that commands the Courts’ respect his lawless decisions in Appellate

Emergency Motion Brief (“Brief”)

       In Brief, Trump hypocritically asserts “[O]ccasion[s] for constitutional confrontation

between the two branches should be avoided whenever possible.” Cheney v. U.S. Dist. Ct. for

D.C., 542 U.S. 367, 389-90 (2004).

       Trump does not avoid constitutional confrontation against co-equal branch judiciary.

Instead, Trump in collusion with members of the legislative branch cause constitutional

confrontations. EO 14215 supplants the Court’s authority to say what the law is binding attorney

generals, the government and the people unless the Court’s authority is overturned by a

persuasive petition in a case and controversy.

       Trump threatens judges and chills dissenting public and private petitioners based on

viewpoint of speech. Congress colludes in threatening judges or their families regardless of

party, intimidating parties, potential petitioners, judges or witnesses to affect the outcome of

cases under the color of official Art I and II authority especially this DC District Court and the

forum court judge with innuendo of threats towards the appellate and USSC Court justices.

       Art I and II authority must be limited to safeguard the Art III authority form such abuse,

and such limits should be made the law in this case at District court or USSC.

                                                 26
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J.      Separation of powers should not mean removal of all checks the judiciary has on the two
other branches leaving them unbalanced

       Trump at page 1 of Brief accuses the Court of breaking the law by placing a check upon

Trump by defining the scope of the Constitutional limits of his official authority. That argument

must be rejected to preserve Art III authority.

       This case is distinguishable from any other. The court is not confined to past case law for

this issue of first impression no matter how much the Defendants try to corner the court by

threats and compelled coercive results even inciting social backlash impermissibly in bad faith to

affect the outcome in this case or others.

K       There is evidence the alleged invasion is fabricated for Trump to evade the law and more
seriously by the possibility of internal threats of an insurrection where the President may be
acting in a manner as to be deemed an internal enemy of his own country and people ignorantly,
indifferently or intentional, doesn’t matter. What matters is the courts must restrain and guide
misguided members of the other two branches when they give into temptation to exceed
constitutional authority

       Trump at page 4 misleading argues: “’The statute confers largely “[u]nreviewable power

in the President to restrain, and to provide for the removal of, alien enemies.’”, but Trump

conveniently leaves out the last part out “in time of war is the essence of the Act.” Citizens

Protective League v. Clark, 155 F.2d 290, 294 (D.C. Cir. 1946).

       As Trump noted in Brief, the District court appeared to bring up the accurate issue as to

whether the fabricated invasion makes the act and Trump’s authority in times of peace under the

act unconstitutional as applied by stating,

       “The court held that plaintiffs were likely to succeed because the terms “invasion” and
       “predatory incursion” “really relate to hostile acts perpetrated by enemy nations and
       commensurate to war.” Tr.41:7-18. Brief at page 4.




                                                  27
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       Trump appears to be trying to incite wars to evade law to be above the law by threatening

Canada, China, Mexico with tariffs, renaming Gulf of Mexico and announcing Trump considers

annexing Canada, Panama Canal, and Greenland. Exhibit 14

       Trump forum shops, and places Plaintiffs in a prejudicial forum where the Governor

declared a resurrection on 1/24/24. There is public support for eliminating and even killing

immigrants. Texas AG Paxton threatened to sue Independent Counsel Jack Smith to affect an

outcome against Trump. Parties in this case were not given a fair opportunity by Trump’s course

of conduct to evade any opportunity to make a record to be heard in his rapid-fire appeals. The

USSC did not consider the Due Process fairness of venue in this fabricated emergency of an

insurrection that Trump and the government create due in part to his believed private investments

in Black Rock, where I believe he intends to eliminate freedom by backing digital currency by

indebting the United States to sell the people’s souls, the land and resources for his private gain.

Exhibit 15

       Congress delegated power to the President through his agent Treasurer Bessent to coin

money without stealing from Peter to pay Paul. Trump and Bessent can coin money under 31

U.S.C. § 5112 (k) without debt or interest and without regard to the private entity the Federal

Reserve to fully fund federal pay including the courts. USSC permitted it before under Lincoln’s

use of statutory authority, it arguably may be used again in the face of Art I threats to defund this

very court and federal employees where Art I and II members trick the courts to allow the

defunding of others before the court itself is attacked. See, Knox v Lee, 79 U.S. 457 (1871),

overturning, Hepburn v. Griswold, 8 Wall. 603, 623, 19 L.Ed. 513. There is a way out to reverse

or prevent a planned economic crash, and the new economic system which will create a




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foundation for a very real schemed overthrow of these United States even if Defendants are so

blinded by self-interest, they cannot see the threats they themselves increase.

        The new system with new corporate structures called beneficial entities is already in

place to allow the transition to a new world order which will eliminate the independence that

makes our country free. Most states set up beneficial corporate and alternative entities to be

enforced before Paul can no longer steal from Peter because Peter has no more funds to steal in a

new subscription system where everything is stolen and nothing is free. I see the corporate

changes. I am cognizant that both parties give into temptations of those who entice their planned

aims by reward or threat of harm to control them and mislead them to allow the planned

dissolution down the line.

        The executive branch, like Congress members, is biased towards its own interest,

controlled by those who show favor blinded not free to lay down desires to do what is right to

preserve this United States from internal threats. So, the Court should and must guide the two

other misguided branches to preserve the country, not destroy a misguided man Trump, but to

shed light on his feet to prevent this nation from falling and the president from being used to hurt

himself and the people.

        Trump further misleads the Court on appeal at page 3 Brief; by Citing a case for the

assertion Trump’s power is unreviewable and unchecked and unbalanced and it is the law that no

one can restrain him to mislead the appellate court.

        Trump is out of line with the official Art I authority, and needs the court to draw the line

to guide two misguided branches by outlining the Constitutional limits explicitly to prevent a

very schemed dissolution only Art III members have the power to stop with the help of

petitioners.



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L       Defense Counsel are officers of the Court bound by candor, and yet their 1 st Amendment
right to petition fairly must be preserved not destroyed by government threats, even by
clients/bosses that are not their mere law firm or boss, but President and Attorney General Bondi
wielding a sword to retaliate against them should they adhere to their officer of the court duties
unless this Court uses this case to insulate attorney generals from being defenders of one man
instead of all of the United States even the courts.

       Attorney Generals are definitely in trouble. Their professed superiors Trump and Bondi

"substantially burden" Defendants’ counsel’s right to petition fairly without government threats,

even by Congress with past case law I would like the courts to overturn. Protecting the

impartiality and independence of AGs in the right to petition fairly in accord with DP, without

Art I and II threats or retaliation to chill, commandeer or control their petitions based on

viewpoint of speech, is important to protect from Constitutional infringement too. Defense

counsel should not be thrown under the bus by threats of Art I and II members by firing staff or

other retribution to commandeer outcomes and chill future petitions.

       Attorney Generals must be allowed to uphold the Constitution and safeguard all

government, not one branch or one party in two branches who misuse their power to chill or

command or retaliate against AGs on the basis of their petitions or whether they petitioned.

       I tried to convey my belief state and US Attorney Generals are in trouble. I want to

persuade the courts to protect attorney generals, but not protect naughty behavior, evading the

law, including court orders, kidnapping people, human trafficking to a foreign country and

sacrificing their lives or liberty for bartered for favors or other exchange.

       Please consider preserving the rule of law and even the Constitutional as law to protect

US AGs from being thrown under the bus by Trump and Bondi, by drafting clear explicit Art III

limits to Trump and Bondi’s authority to control officers of the court, lawyers, including the

position and the independence of the US AGs and State AGs office from threats based on

viewpoint of speech to protect the entire government not merely one man, Trump. In the

                                                  30
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alternative, please make the clients Trump and Bondi accountable for forcing their attorneys to

evade the law by threats or innuendo of threats.

       Trump enacted EO 14281, Restoring Equality of Opportunity and Meritocracy, to

substantially burden AG’s choice to petition to uphold civil rights by government threat of power

should they petition based on viewpoint of speech. Similarly, Trump apparently seeks to remove

criminal laws by rewarding not knowing, per the Whitehouse fact sheet contained in the attached

link. https://www.whitehouse.gov/fact-sheets/2025/05/fact-sheet-president-donald-j-trump-

fights-overcriminalization-in-federal-regulations/ People who harm others ignorantly should be

corrected in court to prevent additional harm towards others, not rewarded for the choice to

remain blind and dumb. Trump appears to enact EO to limit AGs power to petition based on

who they prosecute and by being a judge of culpability in place of the judge and juror too on

speculative allegations not presented to an impartial forum. Trump seeks to remove what is not

his to remove, the protections of the law for the people to safeguard life and liberty for all, not

sacrifice it for the material gain of those who barter favor with him. The President, party, is not

prosector head, requiring the AGs to serve only one man instead of all the government and the

people from crime and Constitutional infractions.

       The AGs must have some independence from the President, courts and even congress so

that it may restrain members of each who exceed constitutional limits by court correction not

destruction. The AGs must have some independence from the President and Bondi even when

they represent them as a client/boss to uphold the US AGs separate Art III function as officers of

the Ct without retaliation to force outcomes unfairly by government threats in contravention of

US Am I, and V that should be construed to protect the fair right to petition of even AGs.




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       Bondi retaliated against her own attorney, Erez Reuveni for fulfilling her duty under

ABA rule 3.3 as an officer of the court of honesty in confessing the government mistake in

Garcia v Noem. The innuendo of threats substantially burdens Defense attorneys unless the

Court alleviates it in this case to aide them in the administration of justice to uphold the

Constitutional right to all people of due process, regardless of place of birth or citizenship.

       US attorney generals and state attorney generals are in danger, which endangers the

courts even more. Without petitioners, including attorney generals the court has no Art III power

to place checks on all acts of government within the purview of Constitutional limits.

       There is a plan to eliminate attorney generals, their pay, pensions and positions.

Nevertheless, that does not make it permissible for Defense attorneys to evade ABA Rule 3:3

concerning candor as officers of the court. AGs are not merely executive officers under the arms

of President’s power, but are officers of the court too.

       Defendants evaded judgment regardless as to their colorful far-fetched arguments around

specific words in an order outlined in on appeal. 35 Dancing around the words in an order does not

dispel knowledge or reckless disregard, the actual malice element, of evading the court's

foreseeable restrictions and actual restrictions in the hearing March 15, 2025.

       I have been through years of reviewing case law where attorneys are disbarred for less

than this. The evasion of this court’s order is even more egregious because people's lives and

liberties are on the line without proof presented against them before an impartial arbitrator or any

opportunity to defend themselves before, they are kidnapped, human trafficked and placed in



35
  https://storage.courtlistener.com/recap/gov.uscourts.cadc.41957/gov.uscourts.cadc.41957.0120
8733712.0_2.pdf page 12-16 and more for colorful dancing around words of the order
defendants evaded, with Constitutional malice, knowledge of the intent of the court, yet seeking
to evade it with unacceptable blame on the victim, the disrespected court, when violations of law
were called out.
                                                  32
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concentration camps for bartered for favors eliminating every liberty for all by creating

precedent.

       Nevertheless, I urge the court to restrain Defendants to protect their counsel, while

correcting not destroying Defendants’ mere agents to preserve the rule of law by preserving even

government’s counsel from being subjugated, then eliminated and replaced by compelled

involuntary servitude by slave lawyers forced into pro bono by government force or threats as

the order 4/28/25 EO 14288 alludes to.

       Bondi and others substantially burden AGs 1 st Amendment right to petition fairly by

threats of firing should Defense counsel not line up to Trump's selfish whims by potentially

sacrificing themselves, their license, their integrity or losing their job or possibly worse,

regardless as to whether they are clients or not.

       Defendants’ counsel’s situation is a bit different from attorneys in this case because their

clients are not mere clients but their perceived superiors too creating unfairness unless the Courts

somehow create case law to protect AGs from being fired or retaliated against but for adhering to

their duty of candor to the Courts, even when representing Trump or other government officials.

Courts must safeguard AGs independence and duty to defend the entire government, including

the courts, not merely one man, or one party’s agenda or the law violates the 5 th Amendment

Equal Protections component as applied and the separation of powers of AGs as Art III officers

of the Court too. Government officials must have more limited rights per the Constitution, to

protect the right to petition fairly, not allowing government threats even against their own




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counsel as Defendants did against AG in another Garcia v Noem.36 They must not be permitted

to fire counsel but for fulfilling a Constitutional duty to another branch of government the courts.

          It's not fair, when defense counsel’s client, Bondi or even Trump may also be their boss

with a sword to deem even former counsel enemies of the state. Yet Defendants are also officers

of the court too bound to uphold the law not evade it.

          Conclusion:

          Wherefore I pray this Court dockets this brief for consideration of this court, and if not

considered to preserve on appeal, especially at the USSC where I am licensed, for now at least. I

believe the courts are the target, and no one can save them to preserve the country if petitions are

obstructed by Art I and II threats or otherwise. It is okay if I look bad if I am able to ask you to

please do good. Please in the interest of justice grant this brief be filed. Thank you.




36
     https://thehill.com/regulation/court-battles/5235778-doj-suspends-lawyer-deportation-case/


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